Case: 15-30207   Doc# 27-1   Filed: 07/18/17   Entered: 07/18/17 11:39:55   Page 1 of
                                          5
Case: 15-30207   Doc# 27-1   Filed: 07/18/17   Entered: 07/18/17 11:39:55   Page 2 of
                                          5
Case: 15-30207   Doc# 27-1   Filed: 07/18/17   Entered: 07/18/17 11:39:55   Page 3 of
                                          5
Case: 15-30207   Doc# 27-1   Filed: 07/18/17   Entered: 07/18/17 11:39:55   Page 4 of
                                          5
Case: 15-30207   Doc# 27-1   Filed: 07/18/17   Entered: 07/18/17 11:39:55   Page 5 of
                                          5
